                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

UNITED STATES OF AMERICA                         )
                                                 )
v.                                               )           No. 3:11-00012-17
                                                 )           JUDGE SHARP
ROBERT LIGON                                     )

                                             ORDER

       Pending before the Court is a Motion For Reduction of Sentence (Docket Nos. 2729 and

2773), filed by the defendant pro se. Through the motions, the defendant seeks a sentencing

reduction based on Amendment 782 to the United States Sentencing Guidelines, which became

effective November 1, 2014, as well as on other grounds.

        Pursuant to 18 U.S.C. § 3006A, the Court appoints the Federal Public Defender’s Office

to represent the Defendant, or if necessary, to designate a member of the Federal Defender’s

Panel to represent the Defendant.

       The Probation Office shall prepare a revised Presentence Investigation Report and

provide a copy to counsel for the parties. Counsel for the Defendant shall file any supplemental

briefs in support of the reduction request within twenty-one (21) days of receipt of the revised

Presentence Investigation Report, and the Government shall respond within fourteen (14) days.

The Court encourages the parties to attempt to agree upon the appropriateness of granting the

requested relief.

       It is so ORDERED.


                                                     KEVIN H. SHARP
                                                     UNITED STATES DISTRICT JUDGE




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